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                                  United States District Court
                                  For The District of Columbia


 United States of America,

                  v.                                     Case No. 21-cr-35-6 (RC)

 Logan James Barnhart,

                 Defendant.


                            Motion for a Reduction in Sentence

I.      Introduction

        Logan Barnhart, through undersigned counsel, respectfully moves this Court for a

reduction in sentence under 18 U.S.C. § 3582(c)(1)(A) and U.S.S.G. § 1B1.13(b)(1)(B), (b)(1)(C)

and (b)(5). After alerting the BOP to what Mr. Barnhart knew to be another blood clot in August

2023—he had twice suffered from them in 2021 and knew exactly what they felt like—it took

until December 2023 for surgery to be performed, after which he developed a serious

complication called compartment syndrome. Compartment syndrome is intensely painful

swelling that causes destruction of the muscle tissue because of the high pressures that develop,

and it was a direct consequence of the BOP’s delay in providing treatment for the blood clot.

Mr. Barnhart is in the BOP’s control; he cannot call an ambulance when he wants to, see a

specialist when he needs to, or fill a prescription when a specialist orders it. He relies on the BOP

to do all of this and more. Yet despite his placement in a federal medical center, they are not

fulfilling their duty of care, and he is at risk of losing life and limb. Mr. Barnhart deserves better

treatment than he is receiving.


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       Here is a brief overview of how long it took the BOP to address the blood clot, the

missteps along the way, and the dire consequences that ensued:

   •   June 6, 2023: Mr. Barnhart arrives in BOP custody; although the BOP had in its
       possession 160 pages of his prior medical records, he is not provided the required statin or
       antiplatelet medications and his dose of blood thinner is lower than the recommended
       treatment dose for those with prior blood clots.

   •   August 14, 2023: He complains of right leg pain similar to that in 2021. He is referred to
       a physical therapist, who correctly notes this is not a PT issue. He is taken off the
       required statin he was only finally given in July 2023.

   •   August 17 & 30, 2023: He is seen by a nurse twice complaining of the exact same pain,
       identifying it as exactly what he experienced in 2021, with no treatment.

   •   September 12, 2023: Even though the physical therapist made clear that this is not a
       musculoskeletal issue, Mr. Barnhart is referred to the University of Kansas Physical
       Medicine and Rehabilitation Clinic. As with the physical therapist, this doctor also
       concludes that this is not a musculoskeletal issue, but rather “consistent with vascular
       claudication.”

   •   September 25, 2023: A month and ten days after his symptoms began, he is finally seen
       by a vascular surgeon, but it is by a telemedicine appointment. The vascular surgeon
       states that Mr. Barnhart should be given an antiplatelet medication and a statin (drugs
       which he should have already been on) and that he should be seen in person by the
       vascular specialists in 2-3 weeks.

   •   October 26, 2023: Despite the vascular surgeon’s recommendation, neither the
       antiplatelet medication nor the statin are started until a cardiologist recommends the
       same after a telemedicine appointment in October.

   •   November 1, 2023: Despite the vascular surgeon’s recommendation, he is finally seen in
       person by vascular surgery 5 weeks after his telemedicine appointment.

   •   December 13-16, 2023: He finally has surgery (called catheter directed thrombolysis) in
       the hospital to break up the clots. Following the surgery, he suffers from compartment
       syndrome. To relieve the pain, an incision is made on each side of his right leg, and left
       open to allow the swelling to go down. The incisions are each between 8 and 9 inches
       long.

   •   December 22, 2023: He returns to the prison with instructions to take oxycodone as
       needed for pain. The dose the prison provides him is a third of that recommended by the

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       hospital. On December 25, he reports so much pain that he must have one of the wound
       vacs removed, which are required for optimal healing of the gaping wounds on his right
       leg.

See generally Ex. 2, Medical Records (filed under seal); see also Ex. 1, Declaration of Drs. Mushero

& Solfisburg (hereinafter, “Drs. Mushero & Solfisburg Decl.”). In addition, (1) Mr. Barnhart

has failed to receive the required follow-up care for his prior heart attack; (2) his high cholesterol

—which puts him at risk of another heart attack or stroke—has been improperly managed; and

(3) he has three painful and infected teeth that have yet to be removed.

       Mr. Barnhart’s conditions are extraordinary and compelling. He is both “suffering from a

serious physical or medical condition” that “substantially diminishes [his] ability [] to provide

self-care within the environment of a correctional facility and from which he or she is not

expected to recover” and “suffering from a medical condition that requires long-term or

specialized medical care that is not being provided and without which [he] is at risk of serious

deterioration in health or death.” U.S.S.G. § 1B1.13(b)(1)(B)(i) & (C); see also id. at §

1B1.13(b)(5) (“Other Reasons.—The defendant presents any other circumstance or combination

of circumstances that, when considered by themselves or together with any of the reasons

described in paragraphs (1) through (4), are similar in gravity to those described in paragraphs (1)

through (4).”). Two doctors who reviewed Mr. Barnhart’s medical records concluded that “Mr.

Barnhart has several serious medical conditions that the BOP has not properly managed

according to widely-accepted standards of care.” See Drs. Mushero & Solfisburg Decl. at ¶15.

He asks this Court to order his immediate release, with a period of home detention to follow.




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II.    Background

       In August 2021, Mr. Barnhart was charged for his participation in the activities at the

U.S. Capitol on January 6, 2021. See Superseding Indictment, ECF No. 92 (Aug. 4, 2021). On

August 18, 2021, while on pretrial release, he began experiencing extreme pain in his lower right

leg. See Barnhart Mem. in Aid of Sent’g at 58, ECF No. 294 (Mar. 13, 2023). Two months later,

he was referred to the emergency room for a blood clot, which was suspected to have been caused

by his ankle monitor. Id. at 58, 60. He spent ten days hospitalized, during which he underwent

open thrombectomy surgery and heart surgery. Id. at 58. Five days after he was sent home from

the hospital he experienced worsening pain and went back to the hospital. Id. at 59. He was

informed that because of his condition, called acute limb ischemia, he was at high risk for limb

loss and the condition could not be reversed. Id. He then had a second surgery lasting over 12

hours to alleviate the clot. Id. Even after this surgery, he remained at high risk for amputation

and limb loss. Id. He required blood checks every four to six weeks, with immediate follow-up

care if the tests were abnormal. Id. at 61. He was prescribed Warfarin, a blood thinner with

serious side effects and negative interactions with common drugs and food, but which he was

required to be on for a minimum of two years, because Eliquis, another similar medication, had

been ineffective. Id. at 62.

       In September 2022, Mr. Barnhart pleaded guilty to one count of assaulting, resisting, or

impeding certain officers using a dangerous weapon in violation of 18 U.S.C. § 111(a)(1) and (b)

(Count 10). ECF No. 234 (Sep. 28, 2022); Min. Entry (9/28/2022). In April 2023, this Court

sentenced him to 36 months of incarceration and 36 months of supervised release. See Judgment,

ECF No. 309 (May 1, 2023). Mr. Barnhart entered prison on June 6, 2023. See Ex. 5, BOP



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Records at 2 (Sentence Computation). His current projected release date is December 24, 2025,

with a home detention eligibility date of September 7, 2025. Id.

III.   Legal Principles

       This Court has the authority to order Mr. Barnhart’s early release under 18 U.S.C.

§ 3582(c)(1)(A)(i) and U.S.S.G. § 1B1.13 (Reduction in Term of Imprisonment Under 18 U.S.C.

§ 3582(c)(1)(A) (Policy Statement)). Under the First Step Act of 2018, imprisoned defendants

may bring their own motions for compassionate release in the district court. 18 U.S.C. §

3582(c)(1)(A) (2018).

       Such motions have a three-step framework. First, a defendant petitioning for a reduction

in sentence must exhaust administrative remedies. Id. Second, a court must consider whether

“extraordinary and compelling reasons warrant” the requested reduction. Id. Third, the court

must consider the sentencing factors enumerated in 18 U.S.C. § 3553(a). Id.

       Because § 3582(c)(1)(A) requires a reduction to be “consistent with applicable policy

statements issued by the Sentencing Commission,” new sentencing guidelines that went into

effect on November 1, 2023, describing what qualifies as “extraordinary and compelling,” apply.

See U.S.S.G. § 1B1.13, p.s. (last amended Nov. 1, 2023). With these amendments, the guidelines

now contain six types of circumstances that may qualify as “extraordinary and compelling.” Id.

§ 1B1.13(b). These are: (1) the medical circumstances of the defendant, (2) the age of the

defendant, (3) the family circumstances of the defendant, (4) whether the defendant was a victim

of abuse while in custody, (5) other reasons that are similar in gravity to 1-4, and (6) an unusually

long sentence. U.S.S.G. § 1B1.13, p.s. Mr. Barnhart satisfies the medical circumstances and

therefore is eligible for a reduction in sentence.



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IV.      Argument

      A. Mr. Barnhart has exhausted his administrative remedies.

         Mr. Barnhart first filed his own reduction in sentence request with his institution on or

around November 5, 2023, which counsel supplemented on December 1, 2023, detailing his

medical concerns. See Ex. 3, Exhaustion Letter. The BOP responded on December 6, 2023,

denying the request based on “extraordinary and compelling circumstances: medical condition”

because “[i]t appears your client does not satisfy the medical components as specified in the

program statement.” See Ex. 4, BOP Response. Thus, 30 days have lapsed “from the receipt of

such request by the warden of the defendant’s facility,” making his motion properly before this

Court. See § 3582(c)(1)(A)(i).

      B. Mr. Barnhart’s Health Conditions and Their Mismanagement by the BOP Are
         Extraordinary and Compelling Reasons for A Reduction in Sentence.

         Mr. Barnhart has “several serious medical conditions that the BOP has not properly

managed according to widely-accepted standards of care,” and he “requires regular

appointments with specialists [to] help ensure he receives the standard of care to preserve his

mobility and prevent further clots, heart attacks, or other complications from his medical

conditions.” See Mushero & Solfisburg Decl. at ¶¶15-16. As these doctors make clear

throughout their declaration, Mr. Barnhart is “suffering from a serious physical or medical

condition” that “substantially diminishes [his] ability [] to provide self-care within the

environment of a correctional facility and from which he or she is not expected to recover” and

“from a medical condition that requires long-term or specialized medical care that is not being

provided and without which [he] is at risk of serious deterioration in health or death.” U.S.S.G.

§ 1B1.13(b)(1)(B)(i) & (C); see also § 1B1.13(b)(5).

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       i.       Recurrent arterial blood clots and post-surgical pain

       As this Court is aware, while on house arrest in October 2021, Mr. Barnhart developed

right leg pain and was diagnosed with a large blood clot in the arteries of his right leg. See Drs.

Mushero & Solfisburg Decl. at ¶5; see also Barnhart Mem. in Aid of Sent’g at 58-59. He was

hospitalized and underwent surgery to dislodge the clot, after which he was discharged with

blood thinning medication (apixaban). Drs. Mushero & Solfisburg Decl. at ¶5. However, he

returned 10 days later with similar right leg pain, which was found to be repeat clotting in his leg

arteries requiring a second surgery. Id. As his attorney made clear at sentencing, the damage to

his right leg was irreversible, and he continued to be at high risk for a recurrence of blood clotting

in his limbs (also called acute ischemia). Barnhart Mem. in Aid of Sent’g at 61. “Without

immediate care upon any recurrence, there is a high risk of limb loss or death.” Id.

       When Mr. Barnhart left the hospital a second time and before he arrived in prison, he was

on several medications essential to preventing future blood clots, including warfarin (a different

blood thinner that was later switched back to axipan sometime before June 2023), a statin (which

is both cholesterol lowering and clot stabilizing), and an antiplatelet medication (Clopidogrel).

Drs. Mushero & Solfisburg Decl. at ¶6. “Clopidogrel had been started in October 2021 after Mr.

Barnhart was found to have had a heart attack and is recommended for people who develop clots

or have poor blood flow in their extremities.” Id. Yet “[d]uring this transition to prison, several

important medications were not continued” including the statin and Clopidogrel, while his blood

thinner was “at a dose lower than recommended for treatment of previous blood clots.” Id. This

is notwithstanding the fact that the Bureau of Prisons had within its possession Mr. Barnhart’s

160 pages of medical records from his 2021 inpatient hospitalization and outpatient doctor’s



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visits in. See generally Medical Records at 416-576. Doctors Mushero and Solfisburg underscore

that “[t]hese medications should not have been stopped for Mr. Barnhart, as they were essential

in preventing further heart attacks, strokes, and worsening of his peripheral artery disease in the

aftermath of his arterial blood clot.” Drs. Mushero & Solfisburg Decl. at ¶6.

       On August 14, 2023, Mr. Barnhart complained of aching right left pain that worsened

when he walked. Id. at ¶7. He reported that they were very similar to the pain he felt during his

arterial blood clots in 2021. Id. “While the concern for another arterial clot was noted in his sick

visit August 14, he was first referred to physical therapy and taken off of his statin, neither of

which are indicated for diagnosis or treatment of blood clots.” Id. (emphasis added). In fact, the

whole reason to be on a statin was to help with his clots, and yet he only received a month of

statins in the BOP’s care: “Statins work to stabilize any existing clot to reduce the risk of it

growing and reduce the risk of forming new clots. This reason was listed for starting a statin in

July, but he only received about a month of this necessary treatment before it was stopped with

no documented plan for restarting.” Id.

       “After he was seen by physical therapy, who correctly determined this was not a physical

therapy problem, he was seen again on August 17th and 30th by an APRN [advanced practice

registered nurse] for the same problem[.]” Id. at ¶8.; see also Medical Records at 28 of 277 (PT

statement that his “signs and symptoms do not appear to be musculoskeletal in nature as his

symptoms were not reproduced during today's examination”); 20 & 23 (of 277) (twice describing

complaint, history of extremity arterial occlusion in 2021, and his statement that “It feels like it

did in the past”). Yet, nothing happened to actually address his pain or complaints that this felt

like a blood clot. And even though the BOP physical therapist made clear that this was not a



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physical therapy problem, Mr. Barnhart was referred to the University of Kansas Physical

Medicine and Rehabilitation Clinic, where he was seen on September 12, 2023. See Medical

Records at 396. Just as with the physical therapist, this doctor also concluded that this was not a

musculoskeletal issue, but rather “[t]his is consistent with vascular claudication,” i.e., pain from

reduced blood flow to the limbs associated with peripheral artery disease. Id. at 399.

       Finally, one month and ten days after he first complained of what he knew to be a blood

clot, Mr. Barnhart was seen by a vascular surgeon via a telemedicine appointment. See Drs.

Mushero & Solfisburg Decl. at ¶8. “Ankle-brachial index (ABI) tests were performed to assess

blood flow to his legs, which showed mildly reduced blood flow on the right.” Id. “The vascular

surgeon recommended he start an antiplatelet medication such as aspirin (equivalent to the

clopidogrel he was on previously) and a statin (which he should have already been on), but these

were not started until October 2023 after he saw a cardiologist who made the same

recommendation.” Id.

       Importantly and to the detriment of Mr. Barnhart, “the vascular surgeon also

recommended [Mr. Barnhart] be seen in person in 2-3 weeks, but he was not seen in person until

over 5 weeks later, on 11/1/23.” Id. “The delay in seeing a surgeon for treatment of this blood

clot is significant in this case because prolonged blockage of blood flow by a clot increases the risk

of compartment syndrome, which was a serious complication that Mr. Barnhart experienced.”

Id. As described infra, compartment syndrome is “severe swelling in an area of the body which

causes destruction of the muscle tissue there because of the high pressures that develop.” Id.

       On December 15, he had surgery to insert a catheter directly into the blood vessel
       to release medication to try to break open the blood clot (“catheter directed
       thrombolysis”). It is at this time that the risk of compartment syndrome occurs and
       this very severe complication happened to Mr. Barnhart. Compartment syndrome

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       can be threatening to both life and limb and the treatment, which is cutting into the
       affected limb to relieve the pressure, creates additional wounds which cause pain
       and risk infection.

Id.

       Doctors Mushero and Solfisburg conclude by underscoring that “[a]n arterial blood clot

in a limb is a serious condition that, even with appropriate treatment, can cause disability and

lead to amputation. Yet, while incarcerated, he was not receiving the standard of care and

recommended treatments for this condition, which include a high-intensity cholesterol lowering

and clot stabilizing medication, an antiplatelet medication, and a blood thinner at a full treatment

dose. This has resulted in progression of his disease and increased morbidity and created the risk

of permanent, irreversible damage to his leg including possible amputation; and death.” Id.

       Finally, even once he returned from the hospital, having had to undergo two surgeries and

experiencing a serious complication, the BOP still could not properly care for Mr. Barnhart.

“After his hospitalization, his hospital team, including his surgeons, discharged him with

instructions to take oxycodone as needed for pain. The dose they prescribed for him was three

times the dose he was actually given by the prison, despite the initial prescription being included

in both the discharge summary and in faxed documents sent to the prison.” Id. at ¶10; see also

Medical Records at 34 (“UK d/c [discharge] summary mentions oxycodone 10 every 4 hours. It

was ordered 5mg QID [4 times a day] upon return.”). Because of the improper dosage Mr.

Barnhart “[had] significant pain[.]” Id. He repeatedly complained for more than 14 hours, from

9:35 a.m. through 11:55 p.m., on December 25, 2023, “report[ing] that [] his pain level is

unacceptable” and stating that “This pain is more that I can stand.” Id. at 42-47.




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       As Drs. Mushero and Solfisburg explain, “[t]he poor pain control caused further

problems as on 12/25/23, Mr. Barnhart reported so much pain he needed to have one of his

wound vacs removed. The wound vacs are important for optimal healing of the wounds, as was

acknowledged in the refusal form Mr. Barnhart signed to get the wound vac removed.” Drs.

Mushero & Solfisburg Decl. at ¶10; see also Medical Records at 30 (“They took the hose/wound

vac off the right side because I was in so much pain.”). Notably, while “[h]is oxycodone dose

was subsequently increased when he was seen by an MD the next day, … this was only after

inadequate pain control led to the discontinuation of one of his wound vacs.” Drs. Mushero &

Solfisburg Decl. at ¶10.

       On January 9, 2024, Mr. Barnhart described to counsel two large open wounds on each

side of his right leg that look “gnarly.” He was told that eventually skin would grow over them

and he would be left with two large scars, but at the moment they were just open wounds where

he could see bare muscle. See also Medical Records at 5 (“Inmate stated they were not going to

sow or staple shut was going to allow to close naturally. Inmate seemed disappointed in the news

wanted the wounds closed.”); see also id. at 34 (describing wounds measuring approximately 8

inches by 2 inches by .2 inches on the outside of his leg and 9 inches by 2 inches by .2 inches on

the inside of his leg). These wounds were not inevitable. They were a direct consequence of the

BOP’s “significant and unusual delay,” Drs. Mushero & Solfisburg Decl. at ¶9, in providing

proper care for his blood clots.

       ii.     Heart Attack Follow-up Care

       The BOP is also failing to properly treat Mr. Barnhart’s heart disease or ameliorate the

risk of further heart attacks or strokes. “During his hospitalization for his right leg blood clot in



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October 2021, Mr. Barnhart was found to have what is called a ‘silent myocardial infarction’ or

heart attack that did not present with symptoms at the time but is found with testing after the

fact.” Id. at ¶11. An echocardiogram “showed reduced heart function likely due to his silent

myocardial infarction.” Id. at ¶12. Because further testing showed a complete blockage of a

heart vessel, “a stent (the usual treatment for a blocked artery) could not be placed and the

decision was made to treat his heart attack by optimizing his medication regimen.” Id. at ¶11.

Therefore, “[h]e was discharged with a cholesterol lowering medication and an antiplatelet

medication (the same medications recommended to treat peripheral arterial disease as described

above), which were appropriate given his heart attack.” Id. As already noted, those medications

were not consistently provided to Mr. Barnhart during his time in BOP custody, despite their

importance to his heart health. It also appears that neither the hospital in 2021 nor the BOP has

started Mr. Barnhart on a beta-blocker, “which could have been helpful in preserving healthy

heart muscle.” Id.

       Mr. Barnhart’s prior heart attack “puts him at increased risk for heart failure in the

future.” Id. at ¶12. It was therefore recommended in October 2021 that he “have a repeat

ultrasound 6 months after his heart attack to check if his heart function had returned to normal.

This is important to determine if he needs other medical therapies to preserve his heart

function.” Id. “This test should have been done as early as the spring of 2022 but records

indicate it has yet to be accomplished.” Id. Doctors Mushero and Solfisburg underscore that

“he should have this test as soon as possible to determine his optimal medical regimen which

could include additional medication therapies (examples include blood pressure medications,




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beta blockers, ARB or SGLT2 inhibitors such as empagliflozin, which are all the standard of care

for people with reduced heart function).” Id.

        iii.    High Cholesterol and Risk of Heart Attack/Stroke

        In addition, Mr. Barnhart has high cholesterol and yet the BOP repeatedly stopped his

statin, which places him at risk both for another heart attack or stroke and another blood clot.

His lab testing in June 2023 showed significantly elevated cholesterol, which decreased

somewhat after the statin was finally prescribed, but which “remain[s] elevated, which puts him

at risk for another heart attack or a stroke.” Id. at ¶13. “Mr. Barnhart’s statin medication was

stopped intermittently over the course of his time in prison due to labs showing increased levels

of a protein called CPK, which is a marker of muscle breakdown and can be a side effect of statin

medications. Nonetheless, the elevated levels of CPK were mild and could have been due to

vigorous exercise, and were not high enough to warrant stopping his essential statin medication, which

is crucial for protecting his heart and reducing his risk of another blood clot in his leg.” Id. (emphasis

added).

        iv.     Teeth Infections

        Mr. Barnhart has had severe tooth pain since June 2023. In June a dentist diagnosed him

with a tooth impaction, “where an in-growing tooth becomes trapped by nearby teeth, as well as

an infection of his gums.” Id. at ¶14. He was prescribed antibiotics and Tylenol and referred to

an oral and maxillofacial surgeon for removal of the impacted tooth, to be performed by June 30,

2023. Id. Yet, “they didn’t have any pain killer for me at the pharmacy” and “I was told it

would take 6 to 9 months before [I] could get surgery but the pain is so great [I] can[’]t bite down

at all.” Medical Records at 415. The pain was so great that Mr. Barnhart wrote to his institution



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that “If there is any other possible way of resolving this, like me paying out of pocket at a local

dentist, [I] would be all for it. [T]hank you very much!” Id. As of January 2024, he has three

affected teeth in total, two of which have been hurting him for over a year, and “[y]et, the

extractions have now been ‘deferred.’” Drs. Mushero & Solfisburg Decl. at ¶14. It is unknown

when Mr. Barnhart’s infected teeth will finally be dealt with while he remains within the BOP’s

control.

       v.       Together these conditions qualify under U.S.S.G. § 1B1.13(b)(1)(B)(i). (b)(i)(C),
                and (b)(5).

       Following their review of Mr. Barnhart’s treatment in BOP custody, Doctors Mushero

and Solfisburg conclude as follows:

       15.     Mr. Barnhart has several serious medical conditions that the BOP has not
       properly managed according to widely-accepted standards of care. His recurrent
       right leg arterial clots, if not appropriately managed, put him at high risk for
       complications including permanent disability, loss of limb, and death. Yet he was
       not provided cholesterol lowering medication and an antiplatelet medication in a
       timely manner, and his blood thinning medication was in an inadequate dose for
       months, all of which are essential in trying to prevent severe complications such as
       the exact ones that Mr. Barnhart suffered – more clots and compartment syndrome.
       His prior heart attack puts him at risk for further heart attacks or strokes, and he
       may still have reduced heart function that increases his risk for heart failure in the
       future, yet he has not had the follow-up ultrasound to review his heart’s health. He
       requires higher statin doses to control his cholesterol. His impacted tooth, while it
       was recommended to be excised by June 30, 2023, remains in his mouth, and he
       now has two others causing him pain.

       16.     In our medical opinion, Mr. Barnhart requires regular appointments with
       specialists, who will help ensure he receives the standard of care to preserve his
       mobility and prevent further clots, heart attacks, or other complications from his
       medical conditions. Mr. Barnhart also requires a timely appointment with an oral
       and maxillofacial surgeon to remove his affected teeth. It is not clear that his current
       location is able to provide him with the standard of care required to manage his
       complex health conditions.

Drs. Mushero & Solfisburg Decl. at ¶¶15-16.



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       As these paragraphs and the entirety of their declaration describe, Mr. Barnhart is both

“suffering from a serious physical or medical condition” that “substantially diminishes [his]

ability [] to provide self-care within the environment of a correctional facility and from which he

or she is not expected to recover” and “suffering from a medical condition that requires long-

term or specialized medical care that is not being provided and without which [he] is at risk of

serious deterioration in health or death.” U.S.S.G. § 1B1.13(b)(1)(B)(i) & (C). His serious

conditions and delay in treatment are also fully consonant with § 1B1.13(b)(5), which allows for a

reduction in sentence for “Other Reasons,” that is, where “[t]he defendant presents any other

circumstance or combination of circumstances that, when considered by themselves or together

with any of the reasons described in paragraphs (1) through (4), are similar in gravity to those

described in paragraphs (1) through (4).” He therefore has presented extraordinary and

compelling reasons for his reduction in sentence.

   C. The Section 3553(a) Factors Support Mr. Barnhart’s Immediate Release.

       Mr. Barnhart’s eight months of imprisonment have been more punishment than eight

months of imprisonment for a healthy individual. He has spent the entire time either worrying

that the BOP’s inability to properly prescribe him the needed medications will result in a loss of

limb; or in intense pain; or begging to be seen by the right professionals for what he knew to be

the same blood clot; or hospitalized because of the BOP’s incompetence; or some combination

thereof. He cannot—and should not be forced to—spend two more years worrying that they will

not listen to him when he complains of his leg pain, that they will not prescribe the medications

that all outside medical professionals agree are key to preserving his limbs, heart, and life, or that




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they will not take him to the correct specialists who know how to treat his symptoms in a timely

manner.

        There is no other place in the BOP that could be doing it better—Mr. Barnhart is at a

federal medical center, which is supposedly designed exactly for those individuals sentenced to

prison with complex medical conditions. Yet the medical center’s delays led to pressure building

up so badly in his leg that the only treatment was to cut two incisions 9 inches long on the sides of

his right leg and then to leave those incisions open, with his bare muscle showing, to relieve the

swelling. The consequences of further delays in treatment could be even more severe.

        Mr. Barnhart’s recidivism level, according to the BOP itself, is low, as is his security

classification. See Ex. 5, BOP Records at 5 (Inmate Profile). While his poor health and

hospitalizations has left little time for programming, he has worked and taken classes when able.

Id. at 4, 6-7. He has fulfilled his financial obligations, id. at 4, and he has had no disciplinary

incidents, id. at 8.

        Although this Court concluded that a 36-month sentence was appropriate when it first

sentenced Mr. Barnhart, in light of all that he has experienced since, the calculus has changed. A

sentencing calculation must always consider the need to “provide the defendant with needed . . .

medical care . . . in the most effective manner.” 18 U.S.C. § 3553(a)(2)(D). Yet Mr. Barnhart’s

current sentence is failing, repeatedly and with dire consequences, to do so. Rather, a reduced

sentence to time served, with home detention as a condition of supervised release, is most

appropriate to account for Mr. Barnhart’s health and wellbeing. He will live with his parents in

Holt, Michigan and return to the same doctors and specialists who already understood the gravity

of his conditions and properly managed them before his imprisonment.



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V.     Conclusion

       Mr. Barnhart respectfully moves this Court for a reduction in sentence to time served

with a period of home detention to follow.




                                                   Respectfully submitted,

                                                   A. J. KRAMER
                                                   FEDERAL PUBLIC DEFENDER

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